Case 2:10-cv-10346-AC-MKM ECF No. 10, PageID.630 Filed 02/12/10 Page 1 of 6
Case 2:10-cv-10346-AC-MKM ECF No. 10, PageID.631 Filed 02/12/10 Page 2 of 6
Case 2:10-cv-10346-AC-MKM ECF No. 10, PageID.632 Filed 02/12/10 Page 3 of 6
Case 2:10-cv-10346-AC-MKM ECF No. 10, PageID.633 Filed 02/12/10 Page 4 of 6
Case 2:10-cv-10346-AC-MKM ECF No. 10, PageID.634 Filed 02/12/10 Page 5 of 6
Case 2:10-cv-10346-AC-MKM ECF No. 10, PageID.635 Filed 02/12/10 Page 6 of 6
